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                         UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MAINE


In re:                                                     Bk. No. 13-10670
MONTREAL, MAINE & ATLANTIC                          Adversary Proceeding No. 14-1001
RAILWAY, LTD.,

     Debtor.

__________________________________

ROBERT J. KEACH, solely in his capacity as
estate representative of the post-effective date
estate of MONTREAL, MAINE &
ATLANTIC RAILWAY, LTD.,

     Plaintiff

v.

CANADIAN PACIFIC RAILWAY
COMPANY, and SOO LINE RAILROAD
COMPANY,
     Defendants.


 Canadian Pacific Railway Company and Soo Line Railroad Company’s motion to dismiss
   under Rule 7012, on forum non conveniens grounds and to obviate the inappropriate
                            relation back of certain claims


         Canadian Pacific Railway Company (CP) and Soo Line Railroad Company (Soo

Line) ask this Court to dismiss Robert J. Keach’s, the estate representative for Montreal,

Maine & Atlantic Railway, Ltd. (MMAR), third amended complaint. CP and Soo Line

base this request on Rule 12(b)(6) of the Federal Rules of Civil Procedure, which the

Rules of Bankruptcy Procedure, Rule 7012, make applicable to this adversary

proceeding. CP and Soo Line also seek dismissal on forum non conveniens grounds.

This litigation arose out of a Quebec disaster, involves Canadian litigants and witnesses,



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and belongs in Quebec. Finally, CP and Soo Line move to dismiss claims that cannot

relate back or undo the inappropriate relation back of claims—which the Court’s

September 27 record remarks and ruling preserved.

        As the parties stipulated and the Court ordered, CP and Soo Line will file a

memorandum of law supporting these motions by October 27, 2016.

Dated: October 7, 2016                     BRIGGS AND MORGAN, P.A

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                                           And

                                           PEARCE & DOW, LLC

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                                           ATTORNEYS FOR CANADIAN
                                           PACIFIC RAILWAY COMPANY
                                           AND SOO LINE RAILROAD
                                           COMPANY




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                                   Certificate of Service

      This document has been filed using the ECF/CM electronic system, and that
system effected service on all parties who have entered an appearance in the electronic
system.

        Dated: October 7, 2016                   /s/ Timothy R. Thornton




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